     Case 3:24-cv-01077-RSH-MMP          Document 53-1    Filed 09/25/24   PageID.420   Page 1
                                                of 6


 1     AYNUR BAGHIRZADE
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 2     Laguna Beach, CA 92651
 3
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 4
       AYNUR BAGHIRZADE, IN PRO SE
 5

 6                        UNITED STATES DISTRICT COURT FOR THE
 7                           SOUTHERN DISTRICT OF CALIFORNIA
 8

 9
                                                   )   Case No.: 24CV1077 RSH MMP
10       AYNUR BAGHIRZADE,                         )
                                                   )   DECLARATION OF AYNUR
11                                                     BAGHIRZADE IN SUPPORT OF
                                                   )
12                               Plaintiff,        )   OPPOSITION TO DEFENDANTS
                                                   )   YELP INC. AND JEREMY
13              vs.                                )   STOPPELMANÕS MOTION FOR
                                                   )   DISMISSAL PURSUANT TO
14       ARMENIAN NATIONAL                         )   F.R.C.P. RULE 12(B)(6)
         COMMITTEE OF AMERICA, A                   )
15       NON-PROFIT CORPORATION, et                )   [Filed concurrently with Declaration
16
         al.                                       )   of Aynur Baghirzade; Exhibits;
                                                   )   Proposed Order, and Certificate of
17                                                 )   Service]
                                                   )
18                               Defendants.       )
                                                   )
19                                                 )   Date: 10/14/2024
                                                   )   Place: 3B-3rd Floor (Rm# 3142)
20                                                 )
21                                                 )
                                                   )
22                                                 )   Presiding Judge: Hon. Robert Huie
                                                   )
23                                                 )   Magistrate Judge : Hon. Michelle M.
                                                   )   Petit
24                                                 )
                                                   )
25                                                 )
26                                                 )
                                                   )
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       DECLARATION OF AYNUR BAGHIRZADE IN SUPPORT OF OPPOSITION TO DEFENDANTS YELP INC.
       AND JEREMY STOPPELMANÕS MOTION FOR DISMISSAL PURSUANT TO F.R.C.P. RULE 12(B)(6)
                                                                       24CV1077 RSH MMP
     Case 3:24-cv-01077-RSH-MMP         Document 53-1     Filed 09/25/24   PageID.421    Page 2
                                               of 6


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 2
       I, AYNUR BAGHIRZADE, declare:
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 5            1.       I am a Plaintiff in the underlined case. I have personal knowledge of
 6     the matters stated herein and if called to testify could and would testify competent-
 7     ly to them.
 8

 9
              2.       I received a letter from the counsel of record for Defendants Yelp Inc.
10
       and Jeremy Stoppelman on or around July 5, 2024, after I filed the present com-
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       plaint. The complaint has not yet been served on Defendants when I received a let-
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       ter from DefendantsÕ counsel, which I believe was due to the fact that I posted in-
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14
       formation about filed complaint in my Twitter account, which immediately was
15     made into news by Defendant ANCA. Counsel could get these news only from
16     Defendant ANCA unless he does not regularly monitors ANCAÕs news.
17

18            3.       The letter sent by the counsel was an attempt to harass me not to go
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       forward with the complaint and had a threat that I will be responsible for attorneyÕs
20
       fees if I go.
21

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              4.       DefendantsÕ counsel contacted me before filing a motion, but his
23

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       speech was mostly about that his client is innocent and they are protected by Sec-
25     tion 230 of CDA. As he was not willing to listen to my arguments, I advised him to
26     file a motion, which he did.
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                                                                       24CV1077 RSH MMP
     Case 3:24-cv-01077-RSH-MMP        Document 53-1   Filed 09/25/24   PageID.422   Page 3
                                              of 6


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             5.     On or around July 19, 2024, I had a personal meeting with Fakhri
 2
       Mirzaguliyev, who previously worked as an officer in Los Angeles County Police
 3

 4
       Department. He told me how he became a victim of the smear compaign after he
 5     literally saved lives of Azerbaijanis, who gathered around Consulate General of the
 6     Republic of Azerbaijan in July 21, 2020 in LA. He informed me that many people
 7     who sent complaints to Los Angeles County Police Department were not even
 8     present at the incident.
 9

10
             6.     Fakhri Mirzaguliyev also informed me that he has an evidence how
11
       Armenians in an organized manner shelled Yelp business page of Sacramento busi-
12
       ness owner after he publicly declared that he does not believe in Armenian geno-
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14
       cide and how they declared a ransom to everyone who will report them Turkish
15     and Azerbajani CaliforniansÕ residential addresses. Screenshots are added here as
16     an Exhibit C.
17

18           7.     On or around May 30, 2023, I had a phone conversation with Khura-
19
       man Armstrong, an Azerbaijani who lives in Australia. She told me her story how
20
       Armenians shelled her Facebook business advertisement pages and literally de-
21
       stroyed her business, and how she was forced to go to court. Decision of court on
22
       defamation is added here as an Exhibit D.
23

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25           8.        In 2022, I personally observed in my Twitter account how Defendant
26     ANCA several times tagged account of Dr. Mehmet Oz during his election cam-
27     paign, asking him whether he recognizes Armenian Genocide or not. After getting
28     no response Defendant ANCA launched a compaign against Dr. Oz by asking dif-
                                              !3
       DECLARATION OF AYNUR BAGHIRZADE IN SUPPORT OF OPPOSITION TO DEFENDANTS YELP INC.
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                                                                       24CV1077 RSH MMP
     Case 3:24-cv-01077-RSH-MMP        Document 53-1       Filed 09/25/24   PageID.423   Page 4
                                              of 6


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       ferent community members to vote for another candidate. Some publications about
 2
       this campaign are added here as an Exhibit E.
 3

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 5           9.     During months May - June, 2023 I was personally asked many times
 6     in my Twitter account by account @Melmouth1 whether I recognize Armenian
 7     genocide or not. I also got a phone call from the person, who refused to identify
 8     himself, asking me whether I recognize Armenian genocide or not. Some conversa-
 9
       tion on this topic is added here as an Exhibit F.
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             10.    Account @Melmouth1 also informed me that Òthey know what to do
12
       with me - to expose me as a racist and disbar meÓ. See Exhibit F.
13

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15           11.    Around June 16 -17, 2023 I had a communication with someone
16     @raydar07 in Twitter, after my Yelp business account was shelled by negative re-
17     views, proposing me a deal - to close my Yelp account or delete the tweets he
18     wants in exchange on taking down negative Yelp reviews. The person also in-
19
       formed me that Yelp is just a beginning, and I will get a special treatment. Com-
20
       munication with the person is added here as an Exhibit G.
21

22
             12.    The person under similar name Ray D. later posted a negative review
23

24
       in my Yelp account claiming that he visited my office and was greeted with ob-
25     scenities. I didnÕt have a physical address. This review is added here as an Exhibit
26     H.
27           13.    In early 2024, after Defendant ANCAÕs announcements about me my
28     profile picture at Yelp was manipulated and completely inappropriate picture was
                                              !4
       DECLARATION OF AYNUR BAGHIRZADE IN SUPPORT OF OPPOSITION TO DEFENDANTS YELP INC.
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                                                                       24CV1077 RSH MMP
     Case 3:24-cv-01077-RSH-MMP          Document 53-1   Filed 09/25/24   PageID.424   Page 5
                                                of 6


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       placed there, which I couldnÕt remove. My complaints to Defendant Yelp Inc.
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       about the picture were completely ignored. Defendants removed this picture after
 3

 4
       keeping it at their platform for at least two months. The picture is added here as an
 5     Exhibit I.
 6

 7           14.    At least two times I noticed how previously deleted negative reviews
 8     appeared back in my Yelp account with my past dated comments under them,
 9
       which could be impossible unless someone from YelpÕs staff did it. Those reviews
10
       are added here as an Exhibit J.
11

12
             15.    In or around August 1, 2024, someone under name Alex K. placed an-
13

14
       other review in my account with threat of coming after me. This review was kept at
15     YelpÕs platform for at least 2 months despite my protests in the similar way as my
16     manipulated profile picture. Picture of Alex K. resembles the Instagram picture of
17     the person, who called to shell Yelp account of Sacramento business owner for
18     denying genocide and Iranian Azerbaijani doctor - Frank Aryan because of his pa-
19
       triotic videos. The review is added here as an Exhibit K.
20

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             16. In May 26, 2023, someone under name E. Kerimli posted a fake review
22
       in my Yelp account alleging that he was my client and I didnÕt provide him with a
23

24
       service. This review was kept by Yelp Inc. despite my numerous complaints back
25     in 2023 and then in 2024. The person registered to place a review on Yelp in May
26     2023, placed the only review about my business and wasnÕt active anymore. The
27     same review was immediately deleted by AVVO and BBB. All information about
28     the incident, including emails, is added here as an Exhibit L.
                                              !5
       DECLARATION OF AYNUR BAGHIRZADE IN SUPPORT OF OPPOSITION TO DEFENDANTS YELP INC.
       AND JEREMY STOPPELMANÕS MOTION FOR DISMISSAL PURSUANT TO F.R.C.P. RULE 12(B)(6)
                                                                       24CV1077 RSH MMP
     Case 3:24-cv-01077-RSH-MMP      Document 53-1       Filed 09/25/24   PageID.425   Page 6
                                            of 6


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 2
             17.    Defendants Yelp Inc. and Jeremy Stoppelman were diligently remov-
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       ing all positive reviews about my business while keeping the most fake and vicious
 5     ones. Email communications about this factor are added here as an Exhibit M.
 6

 7           18.   In or around January 17, 2024, I requested Defendants officially to
 8     close my account. Defendants refused from doing so while extorting from me
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       money for the past advertisement, at the same time they didnÕt send me any in-
10
       voice. After Defendants refused to close my account two another negative reviews
11
       were placed in my Yelp account. Communications with Defendants to close my ac-
12
       count are added here as an Exhibit N.
13

14

15           I declare under penalty of perjury that foregoing is true and correct. Execut-
16     ed on September 25, 2024 in San Diego, California.
17

18                                             By: Aynur Baghirzade, the Declarant
19

20                                             Aynur Baghirzade
                                               _______________________________
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       DECLARATION OF AYNUR BAGHIRZADE IN SUPPORT OF OPPOSITION TO DEFENDANTS YELP INC.
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                                                                       24CV1077 RSH MMP
